 

COMPLAINT

(for non-prisoner filers Without lawyers)

    

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

 

(Full name Of plaintiff(s))

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V. Case Number:l 7 _c_[)l} 0 1

(Full name of defendant( (S))

MOW”)OG(QA ifr r()/J H W (tO be Supplied by Clerk of Court)
§€`»B>J \/ CF 13

 

 

 

 

 

A. PARTIES
1. Plaintiff is a citizen Of \/\U:S(”]/O \| g]:r\/and resides at
(State)
1031\/\ 11111/1/11>)€01\1 M©V\1115
(Ad'dress)

(If more than One plaintiff 15 filing, u SBnother piece Of paper.)

1 N\M@€ 1171 … 6311/1£€§

(Name)

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. 1 1 » ,M\ ` »'”“ q ~ '
is (if a person or private corporation) a citizen of \/\/:ASC/U ] \i §-“:7| …

(State, if known)

 

and (if a person) resides at

 

(Address, if knoWn)
and (if the defendant harmed you While idoing the defendant’s ky \_
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\/ 1651/511 6 D
\f\/(J LJ'\/\//FK/© § /'[W\ \/\l l (’Employer s name 1and address, if knoWn)

322@»
(lf you need to list more defendants, use another piece of paper.)

Worl<ed for

B. STATEMENT OF CLAIM

On the space provided on the following pages, tell:
Who Violated your rights ;

What each defendant did;

When they did it;

Where it happened; and

Why they did it, if you knoW.

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l Raquel Hunter began employment with Managed Health Services
on January 31, 2012 as a Program Coordinator. On Aug 4, 2015
my Manager Patti Damon put together an overtime project for my
team to be a part of. l worked overtime on 8/4/15-8/6/15. On

8 / 7 / 15 my Manager Patti Damon pulled me off the overtime project
without reason; however, she allowed my white coworkers to
continue to work on the overtime project On August 10, 2015 my
Manager Patti Damon called me into her office and stated I was not
following the correct work process. l explained to her l was
following the same work process as my fellow white coworker who
was not written up but I was written up and put on a Final
Performance Improvement Plan. There was no policy in place at the
time of my write up to support Mrs. Damon’s claims; however, once
l filed my claim with EEOC and l\/lanaged Health Services received
notice the process was then changed to support the process she
originally stated l was not following

In the Final Performance Improvement Plan write up Patti Damon
stated l was to remain on task at my desk and keep socializing to
break times and lunch times. No one else on my team was given
this direction from l\/lrs. Damon. On 8 / 27 / 15 l received a packet in
one of the employee trainings that had a racial slur that was used
to degrade / belittle my race.

ln the time l had worked for l\/lanaged Health Services l had never
been written up. I received annual raises, bonuses, tuition
reimbursement for my education costs, and my annual reviews was
rated that l met expectations by my previous manager. l believe
that Mrs. Damon subjected me to different terms of employment
from my white coworkers based on my race; black. These actions
were deliberate and blatant. Due to the amount of emotional stress
and the fact that l was treated different because of my skin color, l
could no longer work under these conditions, I resigned on Sep 29,

2015.

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c. JURisoicrioN

f l am suing for a violation of federal law under 28 U.S.C. § 1331.

 

OR

I am suing under state law. The state citizenship of the plaintiff(s) is (are)
different from the state citizenship of every defendant, and the amount of
money at stake in this case (not counting interest and costs) is

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D. RELIEF WANTED

Describe what you want the Court to do if you win your lawsuit Examples may
include an award of money or an order telling defendants to do something or to

stop doing something
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E. ]URY DEMAND

IWant a jury to hear my case.

 

l declare under penalty of perjury that the foregoing is true and correct.

Complaint signed this 1 €Q)JF\/‘\ day of 1\/1 131 1/(&1/\1/ 20 1 j.

Respectfully Subrnitted,

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Signature of Plaintiff

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Plaintiff’s Telephone Number

1011/1161 11111/111?1“&11 111/1011 C©’W\/

Plaintiff’S Email Address
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(If more than one plaintiff, use another piece of paper.)

REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING THE
FILING FEE

M I DO request that l be allowed to file this complaint Without paying the filing fee.
I have completed a Request to Proceed in District Court Without Prepaying the
Filing Fee form and have attached it to the complaint

 

l DO NOT request that l be allowed to file this complaint Without prepaying the
filing fee under 28 U.S.C. § 1915, and l have included the full filing fee With this
complaint

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